                                            U.S. Department of Justice
DJ 157-6622                                 Civil Division
                                            Washington, DC 20530


                                            November 4, 2024

VIA ECF
Peter A. Moore, Jr., Clerk of Court
United States District Court
Eastern District of North Carolina
310 New Bern Avenue
Raleigh, NC 27601

      Re:     Notice of Withdrawal
              Camp Lejeune Water Litigation v. USA, No. 7:23-cv-00897-RJ
              Cleary-Gordon v. USA, No. 7:23-cv-01559


Dear Mr. Moore:

I represented the Respondent in the above-mentioned cases. Please remove my
name as counsel from the dockets as I am no longer assigned to these matters.

                                      Sincerely,



                                      /s/ Jaclyn E. Shea
                                      JACLYN E. SHEA
                                      Trial Attorney
                                      Office of Immigration Litigation
                                      U.S. Dept. Of Justice, Civil Division
                                      P.O. Box 878, Ben Franklin Station
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